
663 S.E.2d 860 (2008)
STATE of North Carolina
v.
Ronald Donall STANLEY.
No. 599P07.
Supreme Court of North Carolina.
June 11, 2008.
William D. Spence, Kinston, for Stanley.
Karen Collins, Assistant Attorney General, R. Stuart Albright, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 17th day of December 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of June 2008."
